Case 1:24-cv-02200-APM Document7 Filed 10/15/24 Page1of6

U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See “lustructions for Service of Process by GS. Marshal"
SS -ES—————S

PLAINTIFF COURT CASE NUMBER

ANTONIO GREGORY BROOKS 1:24-cv-02200-APM

DEFENDANT TYPE OF PROCESS

FEDERAL BUREAU OF INVESTIGATION Complaint & Summons

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE CHRISTOPHER WRAY, DIRECTOR-FEDERAL BUREAU OF INVESTIGATION

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
935 Pennsylvania Avenue, Washington, DC 20535

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be 4
served with this Form 285
ANTONIO GREGORY BROOKS -
: Number of parties to be
2701 Park Center Drive genvedlinthisense 3
Apt. B905 Check for service
Alexandria, VA 22302 onUS.A

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Signature of Attorney other Originater tegnestina service on behalf of: TELEPHONE NUMBER DATE
[x] PLAINTIFF
/s/ Charles Briggs
gg i] BEREND ENT (202) 354-3120 10/9/2024
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

number of process indicated Origin Serve
(Sign only for USM 285 if more AL A lo A 6 la]
. : No. No.
than one USM 285 is submitted) a 3 | | 0 | 2024

| hereby certify and return that I have personally served , [_] have legal evidence of service, [[] hav cbceouted as shown in "Remarks", the process described on the
individual, company, corporation, etc.. at the address shown above on the on the individual, company, corporation, etc shown at the address inserted below

(J Thereby certify and return that | am unable to locate the individual, company. corporation. etc. named above (See remarks below)

Name and title of individual served (if not shown above) fav FAL Date Time L] am
—aophia Kil Aseitiant Govreral Crush Orne po/i /2024| 2: 2D pm
Address (coniplete only different than shown above) Signature of U.S. Marshal or Pepung n0/Se +

i () (L, wy HAY

Costs shown on ittuched USMS Cost Sheet >>

REMARKS

Form USM-285
Rev 03/21
Case 1:24-cv-02200-APM Document7 Filed 10/15/24 Page 2 of 6

FOIA Summons (1/13) (Page 2)

Civil Action No. 4:24-cv-02200-APM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Dir COO ok FOL Che ypher \Un O Y
was received by me on (date) \D I\\ | 2024

C1 I personally served the summons on the individual at (place)

on (date) > or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

WM served the summons on (name of individual) Sophi a lA ( | , who is

designated by law to accept service of process on behalf of (name of organization) - Fei
Assistant 66 enbsal Caynseé | onde O/wl2aZz4 so

O) I returned the summons unexecuted because

; or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.
1
pate: \O|\\ (2024 NOM (}. Wg
erver’s signgifire
Sostte Chery , dUSM

U.S. mdietete @eraideile
U.S. Courthouse

333 Constitution Ave., N.W.
Washington, D.C. 20001

Server’s address

Additional information regarding attempted service, etc:
Case 1:24-cv-02200-APM Document7 Filed 10/15/24 Page 3of6
PROCESS RECEIPT AND RETURN

U.S. Department of Justice

United States Marshals Service See "“Instructians for Service of Pracess by U.S. Marshal”
See SSS ass SS
PLAINTIFF COURT CASE NUMBER
ANTONIO GREGORY BROOKS 1:24-cv-02200-APM
DEFENDANT TYPE OF PROCESS
FEDERAL BUREAU OF INVESTIGATION Complaint & Summons

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE HON. MERRICK GARLAND, UNITED STATES ATTORNEY GENERAL,

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
950 Pennsylvania Ave N.W, Washington, DC 20530

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be

d with this Form 285 2
ANTONIO GREGORY BROOKS we
: umber of parties to be
2701 Park Center Drive served in this case 3
Apt. B905 Check for service
Alexandria, VA 22302 onUS.A

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Signature of Attorney other Originator requesting scrvicc on behalf of: TELEPHONE NUMBER DATE
ay [x] PLAINTIFF
/s/Charles Briggs
gg L] DEFENDANT (202) 354-3120 10/9/2024
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated Origin Serve

rea ee em, 1 LI [ro AO |r Alo | GalyPn 10/4/2024

[ hereby certify and return that I w have personally served , [] have legal evidence of service, [_] have executed as shown in "Remarks", the process descnived on the
individual, company, corporation. etc., at the address shown above on the on the individual, company, corporation, etc, shown at the address inserted below

C1 hereby gfrtity and return tl that I am unable to locate the individual, company. corporation, etc. named above (See remarks below)

dress (complete only fifferent than shaw. n above) Wiis U.S. Marshal or Depuy Bra oh

ai) (' ‘ne bax, Yay

Costs shown on attached USMS Cost Sheet >>

REMARKS

Form USM-285
Rev. 03/21
Case 1:24-cv-02200-APM Document7 Filed 10/15/24 Page 4of6

FOTIA Summons (1/13) (Page 2)

Civil Action No. 4:24-cv-02200-APM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) ID Prony ( +f rt // La ler f) C , h Gy f lar
was received by me on (date) 0 [\\ \\ | 702 U / te

O I personally served the summons on the individual at (place)

on (date) 3 or

©) I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or
hoo the summons on (name of individual) M fA { | fl lp fi , who is
designated by law to accept service of process on behalf of (name of organization) -

? AL
Ai\ Clézh on dae) WW] “| 202Y or

QO) I returned the summons unexecuted because

; or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00 ‘

Oho.

Server's sigfature

Tost A - Chory, Da"

Pi ‘inted name andltitle
U.S. Marshals Service

U.S. Courthouse
333 Constitution Ave., N.W.
Washington, D.C. 20001

Server's address

I declare under penalty of perjury that this information is true.

Date: 0/1 |20ZY :

Additional information regarding attempted service, etc:
Case 1:24-cv-02200-APM Document 7

U.S. Department of Justice
United States Marshals Service

Filed 10/15/24 Page 5of6
PROCESS RECEIPT AND RETURN

See “Instructions for Service of Process by US. Marshal"

PLAINTIFF COURT CASE NUMBER
ANTONIO GREGORY BROOKS 1:24-cv-02200-APM
DEFENDANT TYPE OF PROCESS

FEDERAL BUREAU OF INVESTIGATION

Complaint & Summons

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE

MATTHEW GRAVES, U.S. ATTORNEY FOR THE DISTRICT OF COLUMBIA

AT

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

ATIN: CIVIL PROCESSING CLERK, 601 D Street, N.W., Washington, DC 20530

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be 3
served with this Form 285
ANTONIO GREGORY BROOKS .
: Number of parties to be
2701 Park Center Drive served in this case 3
Apt. Ba05 Check for service
Alexandria, VA 22302 onUSA.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
Signature of Attorney other Originator requesting service on bchalf of: TELEPHONE NUMBER DATE
. [x] PLAINTIFF
/s/Charles Briggs ) DEFEND
99S ee) L) DEFENDANT (202) 354-3120 10/9/2024
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 2835 if more BA |
than one USM 285 is submitted) Y o Ne ne A | b 0 “W 2024
¥ v

I hereby certify and return that [ [have personally served , [] have legal evidence of service, (1 have executed as shown in “Remarks

", the process described on the

individual, company, corporation, etc., at the address shown above on the on the individual, company. corporation, etc. shown at the address inserted below

C] hereby certify and return that I am unable to locate the individual, company. corporation. etc, named above (See remarks below)

Name and title of individual served (if not shown above) Date ) Time CL] am
a 1 “ a
X foyin Abele. Pareles al Qpecialict fofitfapet] 228 Bem
Address Pomplete only differen Than shown. above) Y Signature of U S. Marshal or Deputy fc FR

lem A. ong

Costs shown on attached (/SMES Cast Sheer >>

REMARKS

Form USM-285
Rev. 03/21
Case 1:24-cv-02200-APM Document7 Filed 10/15/24 Page 6 of 6

FOIA Summons (1/13) (Page 2)

Civil Action No. 4:24-cv-02200-APM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) UD pA Frome for D. (.. D.C. Matthew ( 10 WD
was received by me on (date) 1 ( \\ | 202 2004

©) I personally served the summons on the individual at (place)

on (date) 3 or

QO) I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

Wawed the summons on (name of individual) Te \| {) Al bty | ) ‘Ae > who is

designated by law to accept service of process on behalf of (name of Bie zation) “EB _L
Pata Iba Spt tid iS* on dae) \O|W|2DEY +0

CO I returned the summons unexecuted because lor

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pate: \D[W|2D2Y Vert C. C, Mp

Server's senate “e

Jose. A. Chor cy, Dus

vin Net Teante can

U.S. Marshals Service

U.S. Courthouse

333 Constitution Ave., N.W.
Washington, D.C. 20001

Server's address

Additional information regarding attempted service, etc:
